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7                              UNITED STATES DISTRICT COURT
                              CENTRAL DISTRICT OF CALIFORNIA
8
9    ORLANDO GARCIA,                             )    Case No.: 2:20-CV-06900-AB-JC
                                                 )
10          Plaintiff,                           )    NOTICE OF SETTLEMENT AND
                                                 )    REQUEST TO VACATE ALL
11     v.                                        )    CURRENTLY SET DATES
12   L ROSE LLC, a California Limited Liability ))
     Company;                                    )
     JDE LLC, a California Limited Liability
13   Company;                                    )
     EUROSTAR, INC., a Delaware                  )
14   Corporation; and Does 1-10,                 )
15            Defendants.
16
17          The plaintiff hereby notifies the court that a provisional settlement has been
18   reached in the above-captioned case. The Parties would like to avoid any additional
19   expense while they focus efforts on finalizing the terms of the settlement and reducing it
20   to a writing. The plaintiff, therefore, applies to this Honorable Court to vacate all
21   currently set dates with the expectation that the settlement will be consummated within
22   the coming sixty (60) days, allowing for a Joint Stipulation for Dismissal with prejudice
23   as to all parties to be filed.
24
                                        CENTER FOR DISABILITY ACCESS
25
26   Dated: January 03, 2021            By: /s/ Amanda Seabock
                                              Amanda Seabock
27
                                              Attorney for Plaintiff
28

     Notice of Settlement             -1-            2:20-CV-06900-AB-JC
